            Case 5:19-cv-00074-FB Document 77 Filed 03/04/19 Page 1 of 2



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

TEXAS LEAGUE OF UNITED LATIN                       )
AMERICAN CITIZENS, ET AL.,                         )
                                                   )
       Plaintiffs,                                 )
                                                   )
V.                                                 )       CIVIL ACTION NO. SA-19-CA-074-FB
                                                   )
DAVID WHITLEY, in his Official Capacity            )
as Secretary of State for the State of Texas;      )
ET AL.,                                            )
                                                   )
       Defendants.                                 )

                                               ORDER

       Before the Court are Defendant’s Advisory to the Court (docket no. 74) and LULAC Plaintiffs’

Response to Defendant’s Advisory (docket no. 76), both of which the Court has thoroughly reviewed.

       While the Court acknowledges the Secretary of State’s lack of statutory authority to direct

county election officials, the testimonial evidence before the Court from at least one county election

official was that advisories from the Secretary are considered directives. Moreover, there was evidence

that local county officials asked for and received oral communications with and from the Secretary’s

employees which are interpreted, correctly or not, as “this is what you should do.”

       The Secretary’s proposed new advisory also includes this Court’s orders of February 27 and

February 28 as attachments. The Court is confident that the local officials will read and abide by the

Secretary’s new advisory and this Court’s orders. If not, the Court will address any issues which may

arise on a county by county basis, as needed. In that regard, plaintiffs shall be prepared to advise the

Court at the March 11 status conference whether any or all other Texas counties not presently before

the Court will be added as defendants.
            Case 5:19-cv-00074-FB Document 77 Filed 03/04/19 Page 2 of 2



       As the Secretary’s proposed advisory concludes, “[a]s we learn more, we will update you,” so

also will the Court address any possible further modification at the March 11 hearing and thereafter.

       Accordingly, the Court APPROVES the Secretary’s proposed advisory with the orders of the

Court attached. The Secretary shall provide the Court and opposing counsel with the final formal

advisory once it is issued.

       It is so ORDERED.

       SIGNED this 4th day of March, 2019.


                                       _________________________________________________
                                      FRED BIERY
                                      UNITED STATES DISTRICT JUDGE




                                                 -2-
